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vs
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JONNETTA HAMMOND, g JON PHIPPS i.thALLA
" U.S.. DISTRICT JUDGE
Defendant. ~ '- Q.,/ g_/US-
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COMES NOW the Defendant__ Jonnetta Hammond, by and through appointed Counsel,
Stephen A. Sauer, and files this Motion to Reset Sentencing Date.

The U.S. Probation Officer has filed a Second and a Third Addendum to the Presentence
Report, both filed less than one Week prior to the current sentencing date of June 3, 2005 . The Third
Addendum indicates that due to an increase in the possible restitution involved in the case, the
Defendant’s sentence may require incarceration The Defendant therefore requests a continuance
of the sentencing date to allow time to clarify the calculations used by the victims and the Probation
office in determining the amount of restitution and the number of Victims that vvill be applied in
calculating Defendant’s possible sentence

Counsel for Defendant has spoken With Assistant United States Attorney Valeria R. Oliver
and she joins in this request for a continuance to clarify the amount of restitution.

Wherefore, Defendant requests that the current sentencing date of June 3, 2005, be reset to

allow for further time to investigate the proper amount of restitution and the proper number of

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victims to be used in calculating Det`endant’s sentence

Respectfully submitted:

apa airm-

STEPHEN A. SAUER (015254)
Attorney for Defendant

8 South Third, Fourth Fioor
Memphis, TN 38103

(901) 529-8500

CERTIFICATE OF SERVICE

l , the undersigned, do hereby certify that a true and exact copy of the foregoing doc umth has
been served upon l\/Is. Rae Oliver, Assistant United States Attorney, at 167 North Main, Suite 800,
Memphis, Tennessee 38103 and to Ms. Margaret Gibson, U.S. Probation Ofticer, 167 North Main,

Suite 234, Memphis, TN 38103, via hand-delivery or by placing the same in the United States mail,

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postage prepaid, on this the an day of June, 2005 .

STEPI-IEN A. SAUER

     

UNITED sTATE DRISTIC COUR - WSTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 30 in
case 2:04-CR-20455 Was distributed by faX, mail, or direct printing on
June 3, 2005 to the parties listed.

 

 

Valeria Rae Oliver

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Honorable J on McCalla
US DISTRICT COURT

